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U.S. v. Caldwell, et al.                                                                                                                                                   Discovery Production 1
21‐cr‐28 (APM)                                                                                                                                                          (Through March 24, 2021)

    Main Folder   Subfolder                Document                                Beg Bates Number         End Bates Number   File Type                  Notes
                  Caldwell                 Caldwell 302 1/19/2021                  CALDWELL‐000001          CALDWELL‐000001    pdf
                  Crowl                    Serials 22, 23, 35‐38                   CROWL‐000001             CROWL‐000021       pdf
                  Watkins                  Serials 25, 35, 36, 51, ansd52          WATKINS‐000001           WATKINS‐000017     pdf
                  Sandra Parker                                                    N/A                      N/A                pdf
                  Bennie Parker                                                    N/A                      N/A                pdf
 Arrest Paperwork Kelly Meggs              Arrest and Interview 302s               N/A                      N/A                pdf
                  Connie Meggs             Arrest and Interview 302s               N/A                      N/A                pdf
                  Young                    Arrest 302                              N/A                      N/A                pdf
                                           Interview session report, Attempted
                                           Interview & Transport 302, and Arrest
                       Steele              302                                     N/A                      N/A                pdf

                       Amended Complaint   Amended Complaint                       AMENDED‐000001           AMENDED‐000025     pdf
                       Caldwell            Complaint/Arrest Warrant                CALDWELL‐000197          CALDWELL‐000216    pdf
                       Crowl               Complaint/Arrest Warrant                CROWL‐000139             CROWL‐000156       pdf
  Arrest Warrants
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                       Watkins             Complaint/Arrest Warrant                WATKINS‐000168           WATKINS‐000187     pdf                        this one)
                       Parkers             Complaint/Arrest Warrant                N/A                      N/A                pdf



                       Caldwell            Search Warrant ‐ Premises and Devices CALDWELL‐000133            CALDWELL‐000196    pdf
                                                                                                                                                          Can't not open the 274 warrant
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                                           274_Wadesville_Warrant_Return           N/A                      N/A                pdf               NATIVE   have another copy
                                           Call log                                N/A                      N/A                excel             NATIVE
                                           Chats                                   N/A                      N/A                excel             NATIVE
                                           Contacts                                N/A                      N/A                excel             NATIVE
                                           Emails                                  N/A                      N/A                excel             NATIVE
                                           IM                                      N/A                      N/A                excel             NATIVE
                                           Web history                             N/A                      N/A                excel             NATIVE
                       Crowl               FBI Reports                             CROWL‐000093             CROWL‐000094       pdf
                                           Search Warrant ‐ phone aff              CROWL‐000095             CROWL‐000138       pdf
                                           Phone SW                                                                            pdf                        Can't open
                                           Phone Application                                                                   pdf                        can't open
     Cell Phone                            Call Log                                N/A                      N/A                excel             NATIVE
                                           Contacts                                N/A                      N/A                excel             NATIVE
                                           SMS Log                                 N/A                      N/A                excel             NATIVE
                                           Phone Search _SA Eller                  N/A                      N/A                excel             NATIVE
                                           Cellbirite Report                       N/A                      N/A                html, pdf, UFDR   NATIVE
                       Watkins             FBI Reports                             WATKINS‐000188           WATKINS‐000193     pdf
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                                           Serial 67 1A 35 Physical                N/A                      N/A                pdf                        have another copy.
                                           Search Warrant
                                           Search Warrant ‐Second Phone                                                        pdf




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U.S. v. Caldwell, et al.                                                                                                                                                      Discovery Production 1
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    Main Folder        Subfolder           Document                                Beg Bates Number         End Bates Number    File Type                   Notes
                                           Cellphone snapshot LG (DSC‐886 TO
                                           DSC‐900)                                N/A                      N/A                 jpg                NATIVE
                                           Cellphone Snapshot ‐ (DSC‐825 TO DSC‐
                                           885)                                    N/A                      N/A                 jpg                NATIVE
                                           Report 1                                N/A                      N/A                 excel              NATIVE
                                           Report 2                                N/A                      N/A                 excel              NATIVE
                                           Report 3                                N/A                      N/A                 excel              NATIVE
                                           Samsung Cellbrite Report                N/A                      N/A                 Two pdf zip file   NATIVE


   Comfort Inn                             CCTV Images                             N/A                      N/A                 jpg
 Records and CCTV                          FBI Report                              CCTV‐000001              CCTV‐000001         pdf
                                           Zip jpg files                           N/A                      N/A                 jpg
                                           Comfort Inn pdfs                        COMFORTINN‐000001        COMFORTINN‐000028   pdf
 Hotel and banking
  records ‐ Young,
       Meggs                               Image files                             N/A                      N/A                 jpg                NATIVE

                       Caldwell            Serials 15, 20, and 45                  CALDWELL‐000002          CALDWELL‐000008     pdf
                                           Caldwell interview video                N/A                      N/A                 mp4                NATIVE
                       Crowl               Serials 49                              CROWL‐000022             CROWL‐000023        pdf
                                           Crowl interview video                   N/A                      N/A                 mp4                NATIVE
                       Watkins             Serials 51                              WATKINS‐000018           WATKINS‐000019      pdf
                                                                                                                                                            duplicate files, identical to Crowl
    Defendant                              Serials 36                              CROWL‐000016             CROWL‐000017        pdf                         subfile
    Statements                             Urbana PD Watkins Interview             N/A                      N/A                 zip                NATIVE
                       Bennie Parker       Serial 7                                N/A                      N/A                 pdf
                                           Bennie Parker interview video           N/A                      N/A                 Hawk               NATIVE
                       Sandra Parker       Serial 18                               N/A                      N/A                 pdf
                                           Sandra Parker interview video           N/A                      N/A                 Hawk               NATIVE
                       Kelly Meggs         Kelly Meggs interview transcript        N/A                      N/A                 pdf
                       Connie Meggs        Connie Meggs interview transcript       N/A                      N/A                 pdf
                       Laura Steele        Steele interview video                  N/A                      N/A                 mp4                NATIVE

                       Caldwell, Crowl,    2702 Forms                              FACEBOOK‐000001          FACEBOOK‐000014     pdf
                       Watkins             Serials 5 through 8                     FACEBOOK‐000015          FACEBOOK‐000827     pdf
 Facebook Returns                          Serials 6 and 8 zip files               N/A                      N/A                 html               NATIVE
                       Kelly Meggs         Facebook return                         N/A                      N/A                 pdf
                       Young               Facebook return                         N/A                      N/A                 pdf
                       Steele              Facebook return                         N/A                      N/A                 pdf
                       PRTT ‐ GPS Sharon
                       Caldwell            21‐sc‐158 AT&T Search Warrant           SCALDWELL‐000001         SCALDWELL‐000037    pdf
   Location Data                           Serial 12                               SCALDWELL‐000038         SCALDWELL‐000038    pdf
                                           Serial 12 1A zip file                   N/A                      N/A                                    NATIVE
                                           Caldwell_3957                           N/A                      N/A                                    NATIVE




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U.S. v. Caldwell, et al.                                                                                                                                              Discovery Production 1
21‐cr‐28 (APM)                                                                                                                                                     (Through March 24, 2021)

    Main Folder        Subfolder           Document                             Beg Bates Number         End Bates Number    File Type                Notes

  Open Source
Photos and Videos                          Serials 5 & 14, pdf documents        OPENSOURCE‐000001        OPENSOURCE‐000049   pdf
                                            photos & videos                     N/A                      N/A                 png, jpg, & mp4 NATIVE


                       Additional Photos   DSCN1647 ‐ DSCN‐1658                 N/A                      N/A                 jpg            NATIVE

                       Photos of Most of the
                       Documents Seized      DSCN1659 ‐ DSCN1695                N/A                      N/A                 jpg            NATIVE
 Search of Caldwell
     Residence
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                       SW and Return       274 Wadesville Road                  CALDWELL‐000063          CALDWELL‐000132     pdf                      involved in this seach
                                           Serials 17, 21, 23‐25, 32‐33         CALDWELL‐000009          CALDWELL‐000062     pdf
                                           Serial 23 zip files                  N/A                      N/A                 jpg            NATIVE
  Search of Crowl
                                           Serial 11 FD‐1087                    CROWL‐0000092            CROWL‐000092        pdf
     Quarters
                                           images                               N/A                      N/A                 jpg            NATIVE


Search of Watkins' FBI Reports             Serials 20, 26, and 50               WATKINS‐000020           WATKINS‐000056      pdf
 Residence & Car Search Warrants           102 Main & Gray Ford                 WATKINS‐000057           WATKINS‐000162      pdf
                   Photos zip file         102 N. Main St. & 2008 Ford Fusion   N/A                      N/A                 jpg            NATIVE
                                           Seizure List Watkins Residence       WATKINS‐000163           WATKINS‐000166      pdf
                                           Serials 9, 15, and 38                ZELLO‐000001             ZELLO‐000007        pdf
  Zello Recording
                                           2 Audio files                        N/A                      N/A                 mp3            NATIVE
MPD Stop of Crowl
                                           Report and photos                    N/A                      N/A                 jpg and pdf    NATIVE
   Young Emails                            Relevant emails                      N/A                      N/A                 pdf
     Production
                                           DC OP Jan 6 21 Signal Chat           N/A                      N/A                 excel          NATIVE
     3‐10‐2021
                                           STOP THE STEAL J6                    N/A                      N/A                 txt            NATIVE

  Additional Items Caldwell Cell Signal
   from Caldwell Screenshots                                                    N/A                      N/A                 zip
       Phone
                   Caldwell Telegram zip                                        N/A                      N/A                 zip
   Go To Meeting                         GoToMeetingReturn.zip                  N/A                      N/A                 zip            NATIVE




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